       Case 1:21-cv-06470-KPF Document 13 Filed 11/01/21 Page 1 of 2




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November 1, 2021

Via ECF
The Honorable Katherine Polk Failla
United States District Judge
United States District Court
 For the Southern District of New York
40 Foley Square
New York, New York 10007
Re:      Stevez v. Annaly Capital Management, Inc., Case No. 1:21-cv-06470-KPF
         Request for 30-Day Stay

Dear Judge Failla:

We represent Defendant Annaly Capital Management, Inc. (“Defendant”) in connection with the
above-referenced action. We write jointly with counsel for Plaintiff Arturo Stevez (“Plaintiff”) to
inform the Court that the parties have reached an agreement in principle to resolve this action.
Accordingly, counsel for the parties respectfully request that the Court stay all pending deadlines for
a period of 30 days to permit the parties to finalize the terms of their agreement and submit a
stipulation of dismissal to the Court.

We thank the Court in advance for its consideration of this request.

Respectfully submitted,
/s/ Michael F. Fleming
Michael F. Fleming

Attorney for Defendant

cc: All Counsel of Record (via ECF)




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         Case 1:21-cv-06470-KPF Document 13 Filed 11/01/21 Page 2 of 2



Application GRANTED. All pending deadlines shall be stayed for
a period of 30 days to permit the parties to finalize the terms
of their agreement and submit a stipulation of dismissal to the
Court.

The Clerk of Court is directed to terminate the pending motion
at docket number 12.

Dated:       November 1, 2021           SO ORDERED.
             New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
